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                            Exhibit A
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                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NEW YORK


   BING GUAN, GO NAKAMURA, MARK
   ABRAMSON, KITRA CAHANA, and ARIANA
   DREHSLER,


                                    Plaintiffs,

                         v.                                     No. 1:19-CV-6570 (PKC/MMH)

   ALEJANDRO MAYORKAS, Secretary of the U.S.
   Department of Homeland Security, in his official
   capacity; TROY MILLER, Acting Commissioner of
   U.S. Customs and Border Protection, in his official
   capacity; and TAE JOHNSON, Acting Director of
   U.S. Immigration and Customs Enforcement, in his
   official capacity,

                                    Defendants.



     PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

          Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiffs Bing

   Guan, Go Nakamura, Mark Abramson, Kitra Cahana, and Ariana Drehsler (“Plaintiffs”) serve

   this First Set of Requests for Production of Documents (“Requests”) on Defendants Alejandro

   Mayorkas, Troy Miller, and Tae Johnson (“Defendants”). Plaintiffs request that, within thirty

   (30) days of service of these Requests, Defendants produce or make available for inspection and

   copying the documents described in Schedule A, attached, in accordance with the Definitions

   and Instructions provided in Schedule B, attached, at the offices of Covington & Burling LLP,

   The New York Times Building, 620 Eighth Avenue, New York, NY, 10018, or at such other

   time and place as may be mutually agreed by the parties.
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   Dated: December 30, 2021           By: __/s/Esha Bhandari______________________
          New York, New York

   Mitra Ebadolahi*                         Esha Bhandari
   Emily Child*                             Scarlet Kim
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      FOUNDATION OF SAN DIEGO &                FOUNDATION
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                                         SCHEDULE A
                                      DOCUMENT REQUESTS

          1.      All Documents, including Communications, identified in, referred to, or consulted

   in preparing Defendants’ initial disclosures pursuant to Rule 26(a) of the Federal Rules of Civil

   Procedure.

          2.      All Documents, including Communications, identified in, referred to, or consulted

   in preparing Defendants’ Answer in this Lawsuit.

          3.      All Documents, including Communications, that Defendants may use to support

   any allegations or defenses in this Lawsuit.

          4.      All Documents, including Communications, reviewed or relied upon by any

   expert retained by Defendants in connection with this Lawsuit.

          5.      All Documents, including Communications, that Defendants will use at any trial

   of the claims or defenses in this Lawsuit.

          6.      All Documents, including Communications, concerning the documents that were

   attached as Exhibits 1 through 10 to Defendants’ Motion to Dismiss the Complaint in this

   Lawsuit.

          7.      All Documents, including Communications, concerning Operation Secure Line

   (“OSL”), including the contemplation, formulation, development, implementation, operation,

   enforcement, modification, or termination of OSL.

          8.      All Documents, including Communications, concerning the OSL Targeting List,

   including all Documents used to prepare, create, update, or maintain: the OSL Targeting List; the

   persons on the OSL Targeting List; or the information reflected on the OSL Targeting list, such

   as the text beneath any person’s photograph as well as the presence, absence, and color of an “X”

   over any person’s face.



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          9.      All Documents, including Communications, concerning the meaning or

   scope of the terms “Organizers,” “Coordinators,” “Instigators,” or “Media,” as used in the

   OSL Targeting List, including the categories of persons to whom those terms refer.

          10.     All Documents, including Communications, concerning the actual or

   potential inclusion of any Journalist or member of the Media on the OSL Targeting List.

          11.     All Documents, including Communications, concerning any investigation

   or audit of OSL or the OSL Targeting List.

          12.     All Documents, including Communications, provided to, reviewed,

   referenced, or generated by the CBP Privacy and Diversity Office in connection with, or

   otherwise concerning, OSL or the OSL Targeting List.

          13.     All Documents, including Communications, concerning any other lists or

   databases of persons—beyond the OSL Targeting List—created in connection with OSL,

   including any lists or databases of persons targeted or prioritized for any Government

   Action as part of OSL.

          14.     Documents, including Communications, sufficient to show the function

   and institution of alerts, flags, lookouts, or similar notices (however denominated) on

   persons’ passports generally, including the alerts referenced in the OSL Targeting List.

          15.     All Documents, including Communications, concerning Bing Guan from

   2017 to present, including those reflecting or concerning:




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   entity or unit if it participated in OSL, including their information gathering or sharing activities.

          26.     All Documents, including Communications, created, prepared, maintained,

   processed, sent, or received by any International Liaison Unit, Emergency Operation Center,

   Tactical Terrorism Response Team, OMEGA, or other entity that participated in OSL concerning

   any Journalist or member of the Media on the OSL Targeting List.

          27.     Documents, including Communications, sufficient to show the policies,

   procedures, and practices governing the operations of the Operation Against Smugglers Initiative

   on Safety and Security, including its information gathering or sharing activities.

          28.     All Documents, including Communications, created, prepared, maintained,

   processed, sent, or received by the Operation Against Smugglers Initiative on Safety and

   Security concerning any Journalist or member of the Media on the OSL Targeting List.

          29.     All Documents, including Communications, provided to, reviewed, referenced, or

   generated by the Department of Homeland Security’s Office of the Inspector General (“OIG”) in

   connection with, or otherwise concerning, the internal investigation reflected in the report

   entitled “CBP Targeted Americans Associated with the 2018-2019 Migrant Caravan,” OIG-21-

   62, dated Sept. 20, 2021 (the “OIG Report”), including:

                  a.      The 1990 TECS directive, and the statements by “a high-level EOC

                          official” who “confirmed that CBP officials should reevaluate lookouts

                          after every inspection”;

                  b.      Documents concerning OIG’s conclusion that persons were subjected to

                          “repeated and unnecessary secondary inspections”;




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